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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 ADAM TEITELMAN
 440 K St NW, Apt. 1203
 Washington, DC 20001,

                Plaintiff,

        v.

 QUEUEDR INC.
 2612 Jefferson Drive                                                 1:20-cv-1859
                                                    Civil Action No. _________________
 Alexandria, VA 22303

       SERVE: Patrick Randolph
              2612 Jefferson Drive
              Alexandria, VA 22303

 and

 PATRICK RANDOLPH
 2612 Jefferson Drive
 Alexandria, VA 22303

                Defendants.


                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331 and 1332(a), Defendants QueueDr, Inc. (“QueueDr”) and

Patrick Randolph (“Randolph”)(collectively “Defendants”), by counsel, hereby files their Notice

of Removal of this action from the Superior Court for the District of Columbia to the United States

District Court for the District of Columbia. Defendants base their removal on the following

grounds:

       1.      On May 14, 2020, Plaintiff Adam Teitelman filed an action against Defendants in

the Superior Court for the District of Columbia, captioned Adam Teitelman v. QueueDr, Inc. and

Patrick Randolph, Case No. 2020 CA 002515 B. A copy of the Complaint is attached hereto and

marked as Exhibit A. A copy of the Summons is attached hereto and marked as Exhibit B.
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       2.      Defendants were served with the Summons and Complaint on June 11, 2020, and

have timely filed this removal within thirty (30) days in accordance with 28 U.S.C. § 1446(b)(3)

(“[A] notice of removal may be filed within thirty days after receipt by the defendant, through

service or otherwise, of a copy of an amended pleading, motion, order or other paper from which

it may first be ascertained that the case is one which is or has become removable.”). A copy of the

Affidavit of Service is attached hereto and marked as Exhibit C.

       3.      Although not served on Defendants, the District of Columbia Superior Court issued

an Initial Order and Addendum. True and correct copies of these documents are included in

Exhibit D.

       4.      The Superior Court for the District of Columbia is located within the District for

the District of Columbia. Venue is proper in this Court because it is the “district and division

embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

       5.      Plaintiff is a citizen of the District of Columbia.

       6.      Defendants are citizens of the Commonwealth of Virginia. QueueDr has its

principal place of business in Virginia, and is headquartered in Virginia, and Patrick Randolph is

a citizen of Virginia.

       7.      In his Complaint, Plaintiff seeks damages under the District of Columbia Wage

Payment and Collection Act, D.C. Code §§ 32-1301 et seq. in the amount of $21,463, plus

liquidated damages in an amount equal to three times the unpaid wages, and attorney fees. When

calculated, this amount totals over $85,852, which satisfies the jurisdictional amount requirement.

       8.      This cause is removable under 28 U.S.C. § 1332, and none of the impediments to

removal under 28 U.S.C. § 1445 are present.




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       9.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C. §

1332(a), based on the parties’ diversity of citizenship and the amount in controversy, exclusive of

interest and costs, exceeding $75,000.

       10.     Concurrent with the filing and service of this Notice of Removal, Defendants have

served a Notice of Filing Notice of Removal on Plaintiff, and have filed such Notice with the Clerk

of Court for the Superior Court for the District of Columbia. See Defendants’ Notice of Filing

Notice of Removal attached hereto as Exhibit E.

       11.     As the parties are citizens of different states, the Court has original jurisdiction over

this matter on diversity grounds. See 28 U.S.C. §§ 1331, 1332(a).

       12.     By removing this matter, Defendants do not waive or intend to waive any defense.

       WHEREFORE, Defendants file this Notice of Removal so that the entire court action under

Civil Action Number 2020 CA 002515 B now pending in the Superior Court for the District of

Columbia is removed to this Court for all further proceedings.


       Dated: July 10, 2020

                                                Respectfully submitted,

                                                /s/ Robert R. Niccolini
                                               Robert R. Niccolini, D.C. Bar No. 1000251
                                               OGLETREE, DEAKINS, NASH,
                                               SMOAK & STEWART, P.C.
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                                               Counsel for Defendants
                                               QueueDr Inc. and Patrick Randolph




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                               CERTIFICATE OF SERVICE

       I HEREBY certify that a true copy of the foregoing was electronically filed via the Court’s

CM/ECF filing system on this 10th day of July, 2020, with a copy served by United States mail,

postage prepaid to:

                                        Phillip B. Zipin
                           ZIPIN, AMSTER & GREENBERG, LLC
                               8757 Georgia Avenue, Suite 400
                                Silver Spring, Maryland 20910
                                     pzipin@zagfirm.com



                                             /s/ Robert R. Niccolini
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